
Per Curiam.
The Writ of Error is refused.
Note (in edition of 1853). — In this Case the reasons for rejecting' the application for a writ of Error are not given, hut they seem to he obvious. 1. The record qf the Examining Court need not he as special as an Indictment. The prisoner was charged before the Examining Court with the fact of stabbing Samuel M’Clung, feloniously, and contrary to the Act of Assembly. That kind of stabbing, includes not only malicious, but unlawful; and includes not only stabbing, with intent to kill, but stabbing with intent to maim, disfigure, or disable. The record, then,' of the Examining Court might have omitted the intent with which the act was done, since that intent, as well as that of all the others, was included in the other broad words. Nor can the force of those broad expressions be dimin*279ished by the allegation that the fact was done with intent to kill. 3. The objection that a roisdemesnor was-mixed up in the Indictment, with a ielony, may he answered by the remark,. that the words “strike,” and “cut,” in the Indictment, may he re-j ected as surplusage.
